               UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                : NO. 3:16-CR-254
                                        :
                 v.                     : (JUDGE CAPUTO)
                                        :
DAVID D. KLEPADLO, and                  :
DAVID D. KLEPADLO &                     : FILED ELECTRONICALLY
ASSOCIATES, INC.                        :
         Defendants                     :


     SENTENCING MEMORANDUM OF THE UNITED STATES

     COMES NOW, the United States of America, by and through its

attorneys, and respectfully files a Memorandum to aid the Court in

arriving at a fair and just sentence in this case. Sentencing is

scheduled for September 30, 2019 at 10:00 a.m.

I.   Legal Overview

     The Clean Water Act (CWA) prohibits the discharge of any

pollutant from a point source into navigable waters of the United States

without a permit. 33 U.S.C. § 1311(a). The Environmental Protection

Agency’s (EPA) National Pollutant Discharge Elimination System

(NPDES) is a program under the Clean Water Act (33 U.S.C. Section

1319) and is authorized by both federal and state laws (Pennsylvania

Clean Streams Law & PA Code Title 25) and associated rules and

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regulations under which the Commonwealth is authorized to take

primary responsibility for issuing CWA permits. The program is meant

to preserve and protect the waterways of the nation by setting limits

and standards for the proper operation of wastewater treatment

systems, including required compliance sampling and truthful

reporting. EPA's NPDES permit program controls discharges of

pollutants, as pollutants degrade surface waters making them unsafe

for drinking, fishing, swimming, and other activities.

     Industrial, municipal, and other facilities must obtain permits if

their discharges go directly to surface waters from a point source. The

PA Department of Environmental Protection (PADEP) is the state

agency responsible for administering the NPDES program in

Pennsylvania.

     All treatment facilities that discharge wastewater must have an

NPDES permit. The NPDES permit is specific to each treatment

facility and regulates pollutants and describes the terms and conditions

that a permit holder must meet in order to discharge properly treated

wastewater. The program requires permit holders to participate in a

self-monitoring program where they must collect samples and conduct


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analysis on the effluent produced by the permitted facility. In the case

of Greenfield Township and Benton-Nicholson, there are both daily and

weekly monitoring requirements. The heart of the program is self-

monitoring. Any failure in regard to self-monitoring (such as

fraudulent, inaccurate or misleading results) destroys public confidence

in this type of program to effectively protect our waterways. 1

     The NPDES Permit requires the permittee to submit Discharge

Monitoring Reports (DMRs) on a monthly basis to PADEP. Each DMR

contains a statement warning of severe consequences for false

reporting. PADEP uses accurate DMR data to determine the proper

operation of wastewater treatment facilities. Honest self-monitoring




     1   The foremost purpose of the CWA is “to restore and maintain
the chemical, physical, and biological integrity of the Nation's waters.”
33 U.S.C. § 1251. To that end, the CWA prohibits all discharge of
pollutants into navigable waters except inasmuch as one of several
enumerated statutory exceptions applies. See 33 U.S.C. § 1311(a). One
such exception is where the polluter has been issued a National
Pollution Discharge Elimination System (“NPDES”) permit. See 33
U.S.C. § 1342. The effluent discharge standards or limitations specified
in an NPDES permit define the scope of the authorized exception to the
prohibition in § 1311(a), and authority to administer the NPDES permit
system may be delegated to a state or regional agency where the state
or regional regulatory scheme meets certain criteria. See 33 U.S.C. §
1342(b); see also Citizens for a Better Environment–California v. Union
Oil Company of California, 83 F.3d 1111, 1113–14 (9th Cir.1996).
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remains the core of the DMR requirement, as every environmental

consultant knows.

II.   Factual Background

      In approximately December of 2013, the EPA Criminal

Investigation Division initiated an investigation involving David D.

Klepadlo and Associates, Inc. (DKA), and David D. Klepadlo (Klepadlo)

and possible violations of the CWA based on a referral from PADEP.2

Klepadlo is the owner, operator and president of DKA, which is a multi-

disciplined civil and environmental engineering firm with a business

address located in Clark Summit, Pennsylvania. At the time of the

investigation, Klepadlo was certified by the Commonwealth of

Pennsylvania as a wastewater treatment system operator.


      2  The initial criminal investigation also involved potential fraud
committed by Klepadlo. The Government notes this because to the
extent that victims are identified, it is the Government’s position that
the residents of the local municipalities are victims of Klepadlo’s
criminal conduct. The municipal entities that hired Klepadlo and his
company were defrauded. The terms of the contract to operate the
plants in question reveal that Klepadlo and Greenfield Township had
an “unsigned contract” since 1989 to operate the plant. Based upon a
review of invoices, Klepadlo received $3,300 per month to operate the
Greenfield plant and comply with the NPDES Permits. For Benton-
Nicholson, based on a review of the invoices, Klepadlo received $2,200
per month to operate the Benton-Nicholson plant and comply with the
NPDES Permits.
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     The conduct under investigation occurred at both the Greenfield

Township (Greenfield) and Benton-Nicholson (Benton-Nicholson)

facilities and is similar; that is, Klepadlo failed to properly operate and

maintain the plants as required by the Permit, regularly failed to

conduct required compliance monitoring and sampling in accordance

with Permits due to staffing or substitution of his own judgement as to

whether such sampling was necessary, and then submitted false

sampling results on monthly DMR reports to the PADEP to conceal his

lack of attention of the plants and despite knowing the importance of

accurate monitoring. This practice of failing to test and then

submitting false DMRs occurred over a period of years. This practice

continued despite repeated warnings personally addressed to Klepadlo

by PADEP inspectors over a period of years. Klepadlo has admitted to

agents and his employee that he did not see it necessary to comply with

the NPDES Permits.

     In or about April 2013 and in the face of utter defiance by

Klepadlo, concerns of PADEP field inspectors reached an intolerable

level regarding plants operated by Klepadlo. For example, on random

visits to one or more of the facilities, inspectors rarely noticed the


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operator of the facility at the location. During the winter months,

inspectors would drive to one of the facilities and fail to see tracks in

the snow. PADEP inspectors regularly observed biologically dangerous

growths around discharge pipes that caused concerns, and routinely

received complaints about foul odors emanating from one of the

facilities. Inspectors routinely noted heavy growth of sphaerotilus

natans,3 and a build-up of solids and wastewater debris, such as

condoms and personal hygiene applicators on the bottom of the stream

and on the banks.

     PADEP inspectors interviewed Klepadlo on April 24, 2013 during

an inspection at Greenfield. Klepadlo told them that required daily

sampling of pollutants at both Greenfield and Benton-Nicholson was

not being done and test results were only “estimated” results. In

violation of the PADEP permits, the “estimated” results were the


     3    Sphaerotilus natans is an aquatic bacteria associated with
polluted water. It forms colonies commonly known as a sewage fungus
and can cause bulking of sludge in the wastewater treatment plant’s
clarifier tank. It is controlled by proper chlorination, part of the proper
operation and maintenance of a sewage treatment plant. If inadequate
chlorination occurs in treatment, sphaerotilus natans bacterial
filaments may be noted in the receiving stream, along with the
untreated or partially treated sewage.

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results reported on required monthly DMRs submitted to the PADEP by

Klepadlo for both Greenfield and Benton-Nicholson. Inspectors learned

that this was an ongoing, continuous, and repetitive course of conduct,

in terms of how Klepadlo operated the facilities he managed.

     Klepadlo acknowledged during the inspection that the Greenfield

Permit required daily monitoring for pollutants, including pH and

dissolved oxygen, but stated that, in his opinion, such testing was not

necessary - no matter what the Permit required. Klepadlo said that

testing was only done a few times a week, and even that was factually

untrue based on video surveillance conducted in 2014. He stated that

on days when no one visited the facilities, the sampling results were

“estimated” because “there is no reason to test daily” since the results

did not change much on a daily basis. Klepadlo stated that he did not

care what the Permit required and admitted that he had routinely been

submitting false results to PADEP on DMRs. Klepadlo stated that this

was a practice he had been following for 20 plus years, no matter what

permits required.4


     4   At a later time in a recorded conversation, Klepadlo stated that
his credentials were far superior to those of the PADEP inspectors and
that he knew better.
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     The above conversation occurred in April of 2013. At that time,

Klepadlo was again advised and warned by PADEP inspectors, as he

had been on multiple previous occasions, about how important it was to

comply with the Permit and that ignoring the required testing could

result in serious harm. As is evidenced below, Klepadlo defiantly and

intentionally ignored the environmental parameters and Permit

requirements and continued to submit false test results on DMRs

monthly to the PADEP.

     PADEP did not issue any Notices of Violations (NOVs) for the

violations noted and observed on April 24, 2013. Similar prior

issuances of violations had not resulted in Permit compliance. Instead,

a referral was made to the United States EPA Region III Criminal

Investigations Division.

     Based upon the above concerns and others, investigators installed

surveillance cameras at the Greenfield Township and Benton-Nicholson

plants. Pole cameras were installed at both plants for a period of six

months from December 2013 through June 2014. The video

surveillance at both Greenfield and Benton-Nicholson revealed that on

most days between December 2013 and June 2014, no one showed up at


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either Greenfield or Benton-Nicholson to perform required daily testing

of pollutants, take required weekly composite testing at either facility,

or perform required operation and maintenance. The plants were left to

fend for themselves, and the township authorities that had hired

Klepadlo were being cheated out of their money.

     Video Surveillance of Greenfield Wastewater Treatment Plant

      The Greenfield NPDES Permit required that grab samples for pH

(using a pH meter in-situ or within 15 minutes of collection) and

Dissolved Oxygen (DO) (using a DO meter in-situ or within 15 minutes

of collection) be collected daily and analyzed immediately. Grab

samples for fecal coliform were required weekly and were required to be

analyzed within six hours of collection (grab sample is collected

separately from the composite sample and sent to a laboratory for

analysis). 5

      The Greenfield NPDES Permit also required taking composite

samples, that is, collecting samples, either manually or with a

composite sampler, mixing them together over a period of time (such as




      5  The “flow” (MGD) required continuous measurement with
proper recording instrumentation.
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8 hours or 24 hours) that are proportional to the flow. Additionally, 8-

hour composite samples had to be collected at least once a week to

represent how the treatment plant was functioning over a period in

time. Under the Greenfield NPDES Permit, composite samples for

COBD5, Total Suspended Solids (TSS), and Ammonia-Nitrogen (NH3-

N) were required to be collected at least once a week. Similar composite

samples for Ammonia-N, Kjeldahl-N, Nitrate-Nitrite as N and Total

Phosphorus were required to be collected at least two times a month.

     During 116 days of unobscured video surveillance between

December 18, 2013 and June 17, 2014 (giving Klepadlo the benefit of

the doubt regarding anything obscured), Klepadlo and/or his employee

visited the plant on only 17 occasions and were observed collecting daily

grab samples on only 8 of those17 days. The eight days were January 7,

2014, February 7, 2014, March 28, 2014, April 11, 2014, April 18, 2014,

May 13, 2014, May 15, 2014, and May 21, 2014. On the DMRs

submitted by Klepadlo for the period of surveillance, Klepadlo reported

that samples were collected every day for the pollutant parameters

required by the Permit. Assuming that the eight grab samples were

tested (although no meter instruments or sample measurements taken


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were noted on video), there were no samples collected on 108 days, and

the results for pH and DO were falsified on DMRs.

     During the April 23, 2013 inspection, Klepadlo told PADEP

inspectors that his practice was to collect the composite samples on

Fridays. During the video surveillance, there were no composite

samples (either for the one per month or two per month sample

requirements) taken on the 17 Fridays of December 18, 2013, December

27, 2013, January 8, 2014, January 15, 2014, January 23, 2014,

February 14, 2014, February 21, 2014, March 28, 2014, April 4, 2014,

April 11, 2014, April 25, 2014, May 9, 2014, May 16, 2014, May 23,

2014, May 30, 2014, June 6, 2014, and June 12, 2014.

     However, on the DMRs submitted by Klepadlo and signed by

Klepadlo for the period of surveillance, he reported that composite

samples were collected on Fridays for the pollutant parameters

requiring composite sample monitoring. During the video surveillance

months, the falsified Greenfield DMRs did not show exceedances, except

for two exceedances noted on the June 2014 DMR for Nitrogen-

Ammonia (Total as N) 4.26 lbs/day (permit limit for 30-day average of

2.9 lbs/day) and 7.60 mg/l (permit limit for 30-day average of 2.5 mg/l).


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Since the video surveillance ended on June 17, 2014, the entire month

of June was not captured on video. Of course, Klepadlo had no way of

knowing whether the plant was discharging in compliance with the

CWA because he was not showing up to take samples as required by the

law and his contracts.

 Video Surveillance of Benton-Nicholson Wastewater Treatment Plant

     Klepadlo also operated the Benton-Nicholson wastewater

treatment plant. The Benton-Nicholson NPDES Permit required that a

grab sample for pH be collected daily and analyzed immediately (using

a pH meter in-situ or within 15 minutes of collection). Grab samples for

Dissolved Oxygen (DO) (using a DO meter in-situ or within 15 minutes

of collection) and a grab sample for fecal coliform were required weekly

and were required to be analyzed within six hours of collection (grab

sample is collected separately from the composite sample and sent to a

laboratory for analysis).6

     The Benton-Nicholson NPDES Permit also required taking

composite samples, that is, collecting samples, either manually or with




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       The “flow” (MGD) required continuous measurement with
proper recording instrumentation.
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a composite sampler, mixing them together over a period of time (such

as 8 hours or 24 hours) that are proportional to the flow. Additionally,

8-hour composite samples had to be collected at least once a week to

represent how the treatment plant was functioning over a period in

time. Under the Benton-Nicholson NPDES Permit, composite samples

for COBD5, Total Suspended Solids (TSS), and Ammonia-Nitrogen

(NH3-N) were required to be collected at least once a week. Similar

composite samples for Ammonia-N, Kjeldahl-N, Nitrate-Nitrite as N

and Total Phosphorus were required to be collected at least once a

week.

     Video surveillance was set up at Benton-Nicholson for the period

December 18, 2013 until June 17, 2014. Since the sampling locations

for Benton-Nicholson were located within the plant and, therefore,

could not be seen, it could not be determined whether samples were

actually collected and analyzed when Klepadlo and/or his employee

showed up. However, during 146 days of video monitoring, neither

Klepadlo nor his employee showed up on 34 occasions. Video

surveillance showed that an operator did not show up in December 2013

(after December 18, 2013) on six occasions; in January 2014, four


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occasions; in February 2014, seven occasions; in March 2014, five

occasions; in April 2014, eight occasions; in May 2014, two occasions;

and, in June 2014, until video surveillance ended on June 17, 2014, the

operator did not show up on two occasions. Thus, on 34 days, again

giving every benefit of the doubt to Klepadlo, the required daily

monitoring for two parameters, pH and TRC, did not occur, and false

results were submitted to PADEP on DMRs by Klepadlo.

           Interview with Joseph Sheposh on August 4, 2015

     On August 4, 2015, EPA and FBI agents interviewed Joseph

Sheposh, Klepadlo’s at-will employee. During the interview, Sheposh

told the agents that both he and Klepadlo knew about the daily and

composite sampling requirements at both plants, but claimed they did

not have time to conduct sampling every day because he was instructed

by Klepadlo and Bruce Evans, Sr. (GTSA Manager) to fix grinder

pumps throughout Greenfield Township as needed. Sheposh worked for

Klepadlo and not Greenfield Township. Sheposh told agents that he

discussed writing down false numbers on the DMRs with Klepadlo and

that Klepadlo concurred in the practice. In fact, Klepadlo told Sheposh

that repairing pumps on behalf of Bruce Evans and Greenfield


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Township was a priority over Permit sampling in order to maintain the

more than 500 pumps throughout Greenfield Township. 7

           Environmental Damage/Danger to Human Health

     Contrary to Klepadlo’s attitude about the insignificance of

continued violations of NPDES Permits, observations by PADEP

inspectors on numerous occasions at the Greenfield plant over an

extended period of time evidence the consequences of continued and

repetitive discharges of improperly treated wastewater at the facility

outfall. This included the growth of sphaerotilus natans, blood worms

(which thrive in polluted water) (both are indicators of improperly

treated sewage), raw sewage debris such as condoms and tampon

applicators which the plant failed to collect at the beginning of

treatment, and insufficient and improper processing/removal of sludge,


     7     Bruce Evans, Sr. was indicted on January 8, 2019 and charged
with multiple federal violations involving the CWA (33 U.S.C. § 1319)
and wire fraud (18 U.S.C. § 1343). It should be further noted that
throughout the relevant portion of Klepadlo’s contract with Greenfield
Township to operate the Greenfield Township wastewater treatment
facility (for which he was paid approximately $3,300 monthly and
actually received an increase in salary post-indictment), Bruce Evans,
Sr. served as the Greenfield Township Sewer Authority Manager, a
Greenfield Township Supervisor, and was an employee of both
Greenfield Township and the Greenfield Township Sewer Authority.

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especially in the chlorine contact tank used for disinfection. The time

period for purposes of reference is in or about April 2013 through

December 2017. (SEE ATTACHED PHOTOS MARKED AS: Exhibits 1

and 1.1 (4/16/2013); Exhibit 2 (4/23/13); Exhibits 3, 3.1 and 3.2 (5/20/15);

Exhibits 4, 4.1, 4.2, 4.3, 4.4 and 4.5 (3/15/16); Exhibits 5, 5.1, 5.2, 5.3,

5.4, 5.5, 5.6 and 5.7 (3/16/16); Exhibits 6, 6.1, 6.2, 6.3, 6.4, 6.5, 6.6 and

6.7 (9/7/16); Exhibits 7, 7.1 and 7.2 (10/17/17); and Exhibits 8, 8.1, 8.2,

8.3 and 8.4 (12/12/17). 8

                  Tampering with a Witness (Count 16)

      Klepadlo’s employee, Joseph Sheposh, cooperated with

investigators and wore a recording device on multiple occasions to




      8 PADEP Biologist Walter "JR" Holtsmaster made the following
statement contained in a PADEP inspection report; "On April 30, 2013,
Jeremy Miller (PADEP Inspector) and I arrived at the Greenfield
Township Sewer Authority, Lackawanna County at 1130 hours. We
walked down to the discharge pipe located outside the fenced area. I
observed filamentous algae and sphaerotilus (sewage fungus) in the
discharge channel from the headwall down to the confluence with the
unnamed tributary to Dundaff Creek. Bloodworms (Chironomus genus)
were also observed in the discharge channel from the headwall to the
confluence of the unnamed tributary to Dundaff Creek. The discharge
channel was approximately 50 feet in length and braded into two
channels. Bloodworms and sphaerotilus were not observed in the
unnamed tributary to Dundaff Creek."

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record conversations between himself and Klepadlo.9 The period of

recordings included dates in August of 2015 and again in December of

2015. During recorded conversations, whenever the subject of this

investigation came up, Klepadlo repeatedly attempted to thwart

Sheposh’s cooperation with the Government and/or prevent Sheposh

from providing truthful statements to Government agents. This

occurred on multiple occasions. At first, Klepadlo suggested to Sheposh

that he should simply avoid federal agents by not responding to their

communications. “I can’t tell you what to do but I would ignore them if

I were you. Just tell them you’re sick and can’t come down.” Klepadlo

instructed Sheposh to feign ignorance when questioned by the FBI.

Klepadlo offered to have his attorney accompany Sheposh to any

scheduled meetings. Klepadlo stated, “….my lawyer laughs about

it……what’s the big deal?” Klepadlo goes on to advise Sheposh, “If they

ask you about diluting samples, you should just claim ignorance.”10




     9  All recorded conversations were disclosed to the defendant
during the early discovery stages.

     10  Joseph Sheposh stated during interviews that Klepadlo was
fully aware that he was diluting samples in order to feign compliance.
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       In further attempts to thwart Sheposh’s cooperation, Klepadlo

attempted to impugn the reputation of a retired PADEP inspector.

Klepadlo advised Sheposh to tell investigators that he was instructed by

a then retired PADEP inspector that what they were doing was okay.

Klepadlo was recorded telling Sheposh to “point everything to Lenny.”

“Lenny is retired and the [EPA/FBI] won’t involve him.” Klepadlo

instructed Sheposh, “Just tell them, yeah I only did what Lenny told me

to do.” Klepadlo told Sheposh, to repeatedly say, “I don’t recall.”

Klepadlo further stated, “We’ll just…….say we don’t recall and do the

Hillary Clinton thing. You don’t remember, you don’t recall, to the best

of your ability. That’s all.” Klepadlo rationalized to Sheposh that going

to the plant everyday was “ridiculous” and a “waste of gas and time”

(Klepadlo resided only minutes away from the Greenfield facility by

car). In further attempts to influence Sheposh, Klepadlo refers to

federal agents (EPA and FBI) as “stupid” and not as credentialed as

himself.

III.   Procedural History

       On September 6, 2016, a grand jury returned a 16-count

indictment charging the defendant multiple violations of the Clean


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Water Act as well as Tampering with a Witness. Doc. 1. On December

20, 2018, Klepadlo, on behalf of himself and DKA, pleaded guilty to

Count 4 (submitting false DMRs to PADEP that contained false test

results), and Count 16 (tampering with a Government witness). Docs.

26 and 29.

     A draft PSR was disclosed on April 2, 2019. Doc. 32. Klepadlo

filed multiple objections to the PSR and the Government responded.

The objections have not been resolved. With respect to many of

Klepadlo’s objections, he is ignoring the law. 11 For example, he disputes

the fact that ammonia is a hazardous substance. Ammonia is one of the

parameters that the CWA permits involved in this case set specific


     11    The two main types of relevant conduct are laid out in
subsections 1B1.3(a)(1) and (a)(2). Subsection (a)(1) contains the basic
rules of relevant conduct applicable to all offenses. Those provisions
provide that, in every case, relevant conduct includes actions of the
defendant performed in preparation for the offense, during the offense,
and following the offense to avoid detection. Relevant conduct always
includes acts the defendant counseled, commanded, induced, procured,
or willfully caused. In other words, if the defendant directs someone else
to engage in activity, the defendant is responsible for that person’s
actions as if the defendant did the acts him or herself. In a case of
“jointly undertaken criminal activity,” the defendant is liable for all acts
and omissions of others that were (1) within the scope of the jointly
undertaken criminal activity, (2) in furtherance of that criminal
activity, and (3) reasonably foreseeable in connection with that criminal
activity.
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discharge limits for, required permit holders and their contractors to

analyze wastewater for, and report accurate results to PADEP.

     The EPA has compiled a list of all hazardous substances pursuant

to the definition found in the Comprehensive Environmental Response,

Compensation and Liability Act (CERCLA), commonly referred to as

the Superfund statute. 42 U.S.C. § 9601(14). This list, found at 40

C.F.R. § 302.4, contains hazardous substances identified by all

environmental statutes, including the Clean Water Act. Ammonia is

listed there as a hazardous substance pursuant to the CWA, 33 U.S.C. §

1321(b)(2). 40 C.F.R. § 302.4, Note (Basis for listing Ammonia).

However, in an attempt to lessen his culpability, Klepadlo states,

“ammonia is technically listed as a hazardous substance. . .” (emphasis

added), and then attempts to argue away the import of ammonia

identified as a hazardous substance. See Defendants’ Objections p. 3

footnote 1. Because ammonia is a hazardous substance, Section 2Q1.2

is the correct guideline to apply in this case.

     Appendix A to the Sentencing Guidelines guides the selection of

the appropriate guideline for federal offenses. With regard to violations

of 33 U.S.C. § 1319(c)(2) or (4), either Sections 2Q1.2 or 2Q1.3 may


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apply. U.S.S.G. Section 1B1.2(a). This is because the type of pollutant

involved governs which guideline applies, not the specific offense

charged. United States v. Van Loben Sels, 198 F.3d 1161 (9th Cir.

1999) (defendant in CWA case involving discharge of oily wastewater

into POTW sentenced under Section 2Q1.2 because wastewater

contained benzene, a hazardous substance); United States v. Hong, No.

3:99CR269 (E.D. Va.. 2000 ), aff=d on other grounds, 242 F.3d 528 (4th

Cir. 2001) (discharges of wastewater to sewer from treatment facility

included hazardous substances such as benzene, toluene and xylene so

Section 2Q1.2 applied in CWA pretreatment case), United States v.

King, 915 F. Supp. 244 (D. Kan. 1996) (pollutant discharged in CWA

pretreatment case was hazardous substance; therefore, Section 2Q1.2

applied.) If Section 2Q1.2 applies to crimes in which hazardous or toxic

pollutants were discharged into a sewage treatment plant, then it also

applies to cases involving discharges from such plants.

     Klepadlo is also clearly mistaken in his claim that Section 2Q1.2

has not been applied in cases involving discharges from public sewage

treatment plants. One only has to examine recent prosecutions in

Pennsylvania to demonstrate the inaccuracy of this assertion. See,


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United States v. Mark Ventresca (W.D. Pa. 16:CD-17) (defendant was

licensed wastewater operator who submitted false DMRs containing

false test results – subject to U.S.S.G. Section 2Q1.2); United States v.

Matthew Brozena (E.D. Pa. 15-595-01) (defendant was licensed

wastewater operator who pleaded guilty to negligently causing a

discharge of hazardous substance including ammonia - subject to

U.S.S.G. Section 2Q1.2); United States v. James Crafton (E.D. Pa. 15-

358) (defendant was licensed wastewater operator who tampered with

the required monitoring method (chlorine) – subject to U.S.S.G. Section

2Q1.2).

     Moreover, it should be noted that Judge Rambo applied Section

2Q1.2 in a CWA case involving discharges without a CWA permit, only

six weeks ago on August 14, 2019. United States v. Andrew Manganas,

(No. 1:16-CR-209 M.D. Pa.) Like this case, the indictment in Manganas

alleged that the defendants had illegally discharged pollutants, without

specifying their hazardous or toxic nature. Judge Rambo decided that

Section 2Q1.2 applied because some of the pollutants, i.e., paint blasted

off an Interstate 81 into the Susquehanna River, contained lead, a CWA




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toxic water pollutant and hazardous waste. She sentenced the

defendant to 46 months in prison.

      Klepadlo also raised objections to his guideline calculation on

matters not addressed in the PSR. First, he broadly claims that none of

the specific offense characteristics contained in Section 2Q1.2 apply to

Count 4 because the defendant’s long history of false statements to

PADEP constitutes a “simple recordkeeping offense” pursuant to

Section 2Q1.2(b)(6) and Application Note 2. This claim lacks any basis

in fact or law.

      Klepadlo characterizes his repeated submissions of false

statements to a state agency delegated the CWA regulatory program as

a “technical violation,” even though neither he nor his staff had been to

the plants every day to take required samples and check on plant

operations. Of course, in his wisdom Klepadlo considered such work

unnecessary. (Defendants’ Objections p. 8.) He also told his employee

that taking daily sampling was “impractical,” “impossible,” and that

taking daily pH samples was not a “requirement.” (Defendants’

Objections pp. 5-6.) Kepladlo’s repeated lies are not a “technical

violations” or a “simple recordkeeping offenses.” Every DMR he signed


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put him on notice that providing false information subjected him to

criminal prosecution. His long training and work a professional

engineer specializing in wastewater treatment design and operation

and his licensure as a wastewater treatment operator meant he knew

that regulatory agencies rely heavily on the integrity of a permittee’s

compliance with self-monitoring and reporting requirements.

       As demonstrated by the facts in the PSR and the relevant

conduct outlined in the Indictment, this is not a “simple recordkeeping

offense.” The Indictment charged Klepadlo with conspiring to violate

the CWA for at least two years, including failing to operate and

maintain two public sewage treatment plants, failing to ensure that

compliance monitoring was done at these plants in accordance with

their CWA permits, and repeatedly signing DMRs which falsely stated

that such sampling for a wide variety of parameters – not just pH - had

been done. Klepadlo’s repeated signing of false DMRs and his filing of

the false DMRs were done with one goal in mind: to cover up his

substantive permit violations caused by the substitution of his

judgment for that of PADEP and/or his failure to hire adequate staff.

While Klepadlo continues to claim that daily sampling he failed to


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perform was of little consequence, this is beside the point when it comes

to his “simple recordkeeping” claim.

     The purpose of obtaining a CWA permit is to limit what can be

discharged in order to protect human health and the environment. The

daily and weekly sampling requirements were bedrock requirements of

the CWA permits he lied about because they measured how much

pollution was being added to a stream and told PADEP whether the

permittees were complying with the law. Klepadlo clearly still thinks

he knows better than regulators about monitoring since he has

regularly proclaimed that testing daily (or even weekly given the lack of

staff visits to the plants for days on end) is a waste of time and money,

since he would have had to pay for more staff to do it or do it himself.12

     Section 2Q1.2(b)(5) makes clear that when “a recordkeeping

offense reflected an effort to conceal a substantive environmental

offense,” one uses the offense level for the substantive offense. Contrary

to Klepadlo’s claim in Defendants’ Objections, neither he nor his staff




     12   Klepadlo controlled the staffing for his company. Sheposh was
Klepadlo’s employee. If more staffing was needed to comply with the
plants’ permits, Klepadlo could have provided more staffing. Of course,
that would require less profits for Klepadlo.
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were at the plant several times a week. Video evidence demonstrates

this to be true. Klepadlo lied to cover up his mismanagement of the

plants through cutting corners in staffing and his repeated violations of

the CWA permits in multiple ways. Therefore, the specific

enhancements contained in 2Q1.2 were properly addressed in the draft

PSR. United States v. Hagerman, 525 F. Supp. 2d 1058 (S.D. Ind.

2007), aff’d, 555 F.3d 553 (5th Cir. 2009) (per curiam).

      Klepadlo also claims that the Probation Office should apply the

“guided departures” contained in application Notes 5 (repetitive

discharge) and 8 (violation of a permit) to Section 2Q1.2. These permit

a court to depart one to two levels upward or downward for each

enhancement. These are issues properly raised by Klepadlo, but the

Government does not believe that such departures are warranted.

United States v. West Indies Transport, Inc., 127 F.3d 299 (3d Cir.

1997) (district court imposed a six-level enhancement for discharge of

sewage into a waterway. The Third Circuit rejected argument that the

district court had erred in not granting a two-level guided departure

because human sewage was “fully biodegradable.”).




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       Klepadlo claims that there is nothing in the record to show

“actual environmental harm.”     Defendants’ Objections p. 8. First, his

claim is contrary to a long line of cases holding that showing a

discharge into the environment is sufficient to show environmental

contamination. See United State v. Chau, 293 F.3d 96 (3d Cir. 2002) for

list of cases on issue; United States v. Perez, 366 F.3d 1178 (11th Cir.

2004); United States v. Ho, 311 F.3d 589, 610 n.25 (5th Cir. 2002).

Thus, Klepadlo’s acknowledgement that he discharged wastewater that

had not been properly tested is an admission that polluted wastewater

reached waters of the United States in violation of the relevant CWA

permits. United States v. Hagerman, 525 F.Supp.2d 1058 (S.D. Ind.

2007), aff’d, 555 F.3d 553 (5th Cir. 2009) (per curiam),

      In making his argument, Klepadlo focuses primarily on one

aspect of this case – his failure to ensure that pH samples were taken

daily. He ignores his failure to take other samples required to be taken

daily, such as Dissolved Oxygen, and his failure to take weekly

composite samples for various parameters over a period of months, such

as ammonia. He also ignores his failure to operate the plants properly

as required by the CWA permits. His narrow focus unsurprisingly is


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also reflected in his consultant’s report submitted as Attachment A to

Defendants’ Objections.

     In sum, both Klepadlo and his consultant failed to consider

relevant conduct, including the many, many days no one went to the

plants at all to sample or otherwise ensure they were operating

properly, and the clear failure to properly operate and maintain the

plants. This failure is documented in evidence collected by PADEP

(attached photographs) showing a heavy growth of sphaerotilus natans

at the Greenfield plant’s discharge point. This is an aquatic bacterium

associated with polluted water also known as sewage

fungus. Moreover, PADEP observed a build-up of solids and debris,

such as condoms and personal hygiene applicators, on the bottom of the

stream and on the banks. Consequently, the Government does not

believe Klepadlo is entitled to any amount of guided departure under

either enhancement.




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IV.   Section 3553(a) Factors

      The United States believes the correct Guideline imprisonment

range in this case is 37 – 46 months.13 The Court must consider: the

nature and circumstances of the offense; the history and characteristics

of the defendant; the need for the sentence imposed to promote the

goals of sentencing; the kinds of sentences available; the sentencing

guideline range; any pertinent policy statement issued by the

Sentencing Commission; the need to avoid unwarranted sentence

disparities among defendants with similar records who have been found




      13  In the Government’s view, Klepadlo’s sentencing guideline
calculation pursuant to Section 2Q1.2 and Chapter 3 should be:

      Base Offense Level – 2Q1.2(a)                                      8
      Repetitive, Ongoing or Continuous Discharge – 2Q1.2(b)(1)(A)      +6
      Violation of a Permit – 2Q1.2(b)(4)                               +4
      Adjustment for Role in the Offense – 3B1.1                        +2
      Adjustment for Abuse of Position of Trust – 3B1.3                 +2
      Adjustment for Obstruction of Justice – 3C1.1                     +2
           TOTAL                                                        24

      This assumes full acceptance of responsibility which the
Government has concerns about and will await the nature of any
further arguments from Klepadlo. The United States reserves the right
to object at sentencing to Klepadlo receiving any credit for acceptance of
responsibility.


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guilty of similar conduct; and the need to provide restitution to any

victims of the offense.

     1. Nature and circumstances of the offenses

     Klepadlo engaged in serious offenses. As a certified wastewater

treatment operator and owner of DKA, Klepadlo knew about the Clean

Water Act and the requirements of NPDES permits, and was

responsible for complying with the permits and ensuring the compliance

of his employee. The NPDES program and the safety of the waters of

the United States depends on the integrity of wastewater treatment

operators, and in particular certified wastewater treatment operators,

to be knowledgeable of and comply with their permits and to honestly

sample, test, and report the pollutants discharged so that PADEP is

notified of problems and can address them. Klepadlo knowingly and

intentionally violated the permits by failing to comply with the testing

requirements of the permits he was paid to enforce. The resulting

discharges from the plants Klepadlo operated were repeated and

continuous discharges of hazardous and other pollutants. His failure to

properly operate the plant, part of the manner and means of the




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conspiracy, resulted in demonstrable impacts to the receiving stream at

Greenfield.

     It bears repeating that NPDES permits are specific to each

treatment facility and regulate pollutants and describe the terms and

conditions that a permit holder must meet in order to discharge

properly treated wastewater. The program requires permit holders to

participate in a self-monitoring program where they must collect

samples and conduct analysis on the effluent produced by the permitted

facility. The heart of the program is self-monitoring. Any failure in

regards to self-monitoring (such as fraudulent, inaccurate or misleading

results) destroys public confidence in this type of program to effectively

protect our waterways. Moreover, Klepadlo clearly believes he is the

expert in this area, the PADEP regulators are beneath him, and that he

can choose which parts of a permit he needs to comply with on any give

day depending on the demands of his business and staffing rather than

the requirements of the law.

     It also bears reminding the Court of Klepadlo’s repeated acts of

attempts to obstruct and thwart justice in this case, to protect himself

at the expense of other individuals as well as the environment.


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     2. History and characteristics of the defendant

     In addition to the above descriptions of Klepadlo’s defiance and

arrogance, Klepadlo was licensed by the Commonwealth of

Pennsylvania as a certified wastewater treatment plant operator. He

had approximately 20 years of operator experience. Greenfield

Township and Benton-Nicholson Joint Sewer Authority contracted with

Klepadlo and DKA for a licensed wastewater treatment plant operator

to manage its plants. The municipalities relied on Klepadlo and his

touted expertise and credentials. In repeated acts of defiance and

greed, Klepadlo violated the trust of the communities who paid his

salary. He also engaged in a pattern of disrespect for the law.

     David D. Klepadlo and Associates (DKA) is a Pennsylvania

corporation whose criminal conduct involved its contract operations at

the Greenfield Township and the Benton-Nicholson plants. With

respect to fines, the CWA sets a range for any criminal fine imposed

upon any corporation for knowing violations of a NPDES permit from

$5,000 to $50,000 for each day of violation. 33 U.S.C. § 1319(c)(2).

     Under the Alternative Fines Act (AFA), the court could impose

fines against DKA of up to the greater of 1) the statute of conviction


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(aforementioned CWA maximum fines), 2) $500,000 for a felony or, 3)

the amount calculated to be twice any “pecuniary gain” to defendant or

twice the “pecuniary loss” caused by defendant’s conduct, such as loss

suffered by his clients through fraud. 18 U.S.C. §§ 3571(c), (d).

     3. Need for the sentence to reflect the seriousness of the offense,
        promote respect for the law, and provide just punishment

     Klepadlo’s employment with the local municipalities was based

primarily on his own advertised experience and credentials. He made

himself well known in the area as the plant operator for the identified

wastewater treatment facilities. For years, he lied to PADEP on

monthly DMRs, and failed to inspect the Greenfield plant on 108 out of

116 days in 2014.   He lied to board members and he lied to members of

the community he was paid to protect. Instead, he cheated them. His

victims are the communities he was paid to protect.

     Congress enacted the Clean Water Act in 1972 to “restore and

maintain the chemical, physical and biological integrity of the Nation’s

waters” by reducing and eliminating water pollution. 33 U.S.C. §

1251(a). Much progress to protect the Nation’s waters has been made

since then, but strong sentences must be imposed in cases like this to

continue to protect the environment. It is essential to protect the health

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of the local tributaries and streams that ultimately flow from the

Dundaff Creek into the Tunkhannock and then into the Susquehanna

River where communities thrive and enjoy water activities. Klepadlo’s

repeated and defiant actions resulting in the cumulative effect of

partially untreated discharges into the waterways, and his failure to

take daily samples simply because he knew better than PADEP and did

not want to hire adequate staff, must be taken into account for

sentencing.

     One way of protecting our critical waterways is to deter

businessmen and others from polluting them and ignoring the

fundamental concept that all people in the United States deserve a

clean environment. The sentence in this case must be severe enough to

punish Klepadlo for cheating the member of the local communities, all

of whom depended on him to comply with the permits issued, and for

befouling the environment.

     4.    Need to deter future criminal conduct and protect the public

     Klepadlo’s sentence needs to accomplish the twin goals of

deterring him from engaging in future criminal conduct and protecting

the public. While hopefully Klepadlo will never be employed again as a


                                   34
certified wastewater treatment facility operator, he was a serial violator

of the law. An appropriate sentence will help deter him from future

criminal conduct of any kind. It will also serve to protect the public by

deterring others from engaging in similar flouting of environmental

laws, cheating communities, and lying to regulators.

     5. Need to avoid unwarranted sentencing disparities

     The appropriate sentence of a term of imprisonment will not

result in unwarranted sentencing disparities. As for DKA, any fine

imposed within the PSR’s calculated range is appropriate given the

severity of the offenses. Given Klepadlo’s offenses and relevant facts,

especially Klepadlo’s total control of the criminal activity engaged in by

him, a term of imprisonment is appropriate. The United States asks

the Court to sentence Klepadlo to a term of imprisonment of 37 months.

The Government has not identified any factors that would warrant a

departure or variance from the applicable sentencing guidelines. As

such, the need to avoid unwarranted sentence disparities clearly weighs

in favor of a sentence of imprisonment, an individual fine given his

ability to pay, and a fine on the corporate defendant of $150,000.




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V.   Conclusion

     The United States respectfully requests that the Court impose a

period of imprisonment of 37 months on defendant, Klepadlo. The

United States also asks that Klepadlo and DKA be fined in accordance

with their ability to pay a fine, which appears to be significant.

                                   Respectfully submitted,

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